Case 6:16-cv-00970-RBD-TBS Document 41 Filed 10/20/17 Page 1 of 4 PageID 165




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION



   UNITED STATES OF AMERICA, ex rel.,
   BARBARA BERNIER,

                         Plaintiff,

          v.                                            Case No. 6:16-cv-00970-RBD-TBS

   INFILAW CORPORATION; CHARLOTTE
   SCHOOL OF LAW, LLC,

                         Defendants.


                CONSENT MOTION FOR LEAVE FOR DEFENDANTS
        INFILAW CORPORATION AND CHARLOTTE SCHOOL OF LAW, LLC
           TO FILE JOINT MOTION TO DISMISS IN EXCESS OF 25 PAGES

          Defendants InfiLaw Corporation (“InfiLaw”) and Charlotte School of Law, LLC

   (“CSL”) (collectively, “Defendants”), through counsel and pursuant to Local Rule 3.01,

   respectfully move the Court for leave to submit one combined Motion to Dismiss Plaintiff’s

   Complaint and to allow that Motion to be up to 40 pages long. In support Defendants state:

          1.     Defendants’ response to Plaintiff’s qui tam Complaint is due on October 26,

   2017. Dkt. No. 25.

          2.     Defendants intend to file a motion to dismiss the Complaint. Local Rule

   3.01(a) allows InfiLaw and CSL to file separate motions of up to 25 pages each.

          3.     The Complaint makes allegations that spread across a broad spectrum of

   topics over the course of six years and the facts and events alleged in Plaintiff’s Complaint
Case 6:16-cv-00970-RBD-TBS Document 41 Filed 10/20/17 Page 2 of 4 PageID 166




   about InfiLaw and CSL are highly intertwined. Moreover, the legal issues underlying a

   request for dismissal are predominantly the same among the Defendants.

            4.     Accordingly, Defendants believe that a Joint Motion to Dismiss is the most

   efficient way to present their arguments. Thus, instead of filing two separate motions to

   dismiss and supporting memoranda under the Local Rules’ 25-page limitation (Loc. R.

   3.01(a)), Defendants request permission to file a single Joint Motion of no more than 40

   pages.

            5.     Counsel for Defendants has conferred with counsel for Plaintiff, and Plaintiff

   has consented to the relief sought in this Motion.

            Therefore, Defendants move the Court to enter an Order allowing them to file a joint

   Motion to Dismiss and Supporting Memorandum of Law pursuant to Rule 12(b)(6), and to

   permit that Motion to be up to 40 pages long.

   Dated: October 20, 2017                              Respectfully submitted,

                                                        /s/Mazda K. Antia
                                                        David Mills, Esq.
                                                        COOLEY LLP
                                                        1299 Pennsylvania Avenue
                                                        Washington, D.C. 20004
                                                        Tel: (202) 842-7800
                                                        Fax: (202) 842-7899
                                                        Email: dmills@cooley.com

                                                        Mazda K. Antia, Esq.
                                                        COOLEY LLP
                                                        4401 Eastgate Mall
                                                        San Diego, CA 92121
                                                        Tel: 858-550-6000
                                                        Fax: 858-550-6420
                                                        Email: mantia@cooley.com




                                                   -2-
Case 6:16-cv-00970-RBD-TBS Document 41 Filed 10/20/17 Page 3 of 4 PageID 167




                                         Vincent A. Citro, Esq.
                                         Florida Bar. No. 0468657
                                         LAW OFFICES OF MARK L.
                                         HORWITZ, P.A.
                                         17 East Pine Street
                                         Orlando, FL 32801
                                         Tel: (407) 843-7733
                                         Fax: (407) 849-1321
                                         Email: vince@mlhorwitzlaw.com

                                        Counsel for Defendants InfiLaw Corporation and
                                        Charlotte School of Law, LLC




                                       -3-
Case 6:16-cv-00970-RBD-TBS Document 41 Filed 10/20/17 Page 4 of 4 PageID 168




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 20, 2017, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system which will send a notice of

   electronic filing to all counsel of record, including the following:

   Coleman W. Watson, Esq.
   Watson LLP
   189 S. Orange Avenue, Suite 810
   Wilmington, DE 19808

   Counsel for Plaintiff Barbara Bernier


   Jeremy Ronald Bloor
   US Attorney's Office
   Suite 3100
   400 W Washington St
   Orlando, FL 32801


   Counsel for United States of America




                                                          Mazda K. Antia
                                                          Mazda K. Antia
                                                          Counsel for Defendants




                                                    -4-
